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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                           FORT WORTH DIVISION

JORDAN BRANDT,                               §
                                             §
     Plaintiff,                              §
                                             §
v.                                           §   Civil Action No. 4:21-cv-00468-P
                                             §
THE VETERANS ADVOCACY                        §
AND BENEFITS ASSOCATION,                     §
                                             §
     Defendant.                              §

                                  FINAL JUDGMENT

       This Judgment is issued pursuant to Fed. R. Civ. P. 58(a). In accordance with the

Order dismissing the case (ECF No. 14):

       It is ORDERED, ADJUDGED, and DECREED that all of Plaintiff Jordan

Brandt’s claims in this civil litigation against Defendant, The Veterans Advocacy and

Benefits Association, should be, and hereby are, DISMISSED without prejudice.

       The Clerk shall transmit a true copy of this Final Judgment to the parties.

       SO ORDERED on this 30th day of August, 2021.




                             Mark T. Pittman
                             UNITED STATES DISTRICT JUDGE
